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                 EXHIBIT A
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                                                      Eagle Pharmaceuticals,        327-1
                                                                             Inc. - Eagle     Filed 01/03/22
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                                                                                                                                for Vasopressin
                                                                                  28436

EAGLE
   PHARMACEUTICALS
                                         ABOUT           PRODUCTS             PIPELINE           IMPACT           INVESTORS              CAREERS    CONTACT US




NEWS DETAILS
                                                                                                                                                        NASDAQ: EGRX
VIEW ALL NEWS
                                                                                                                                                        $45.50
                                                                                                                                                       Change % -1.16
Eagle Pharmaceuticals Receives FDA Approval for Vasopressin
                                                                                                                                                       Volume 86,329
12/15/2021                                                                                                                                             Data as of 12/15/2021 1:40

                                                                                                                                                       PM

                                                                                                                                                       Minimum 20 minute

 El      a % at                                                                                                                                        delay.




        -- Company is first to file an ANDA referencing Vasostrict®, which had total U.S. sales of $786 million in 2020 --
                                                                                                                                                       Investor Center Home

WOODCLIFF LAKE, N.J.--(BUSINESS WIRE)-- Eagle Pharmaceuticals, Inc. (Nasdaq: EGRX) ("Eagle" or the "Company")                                          Press Releases

today announced that the U.S. Food and Drug Administration ("FDA") has approved the Company's abbreviated new drug                                     Corporate Governance
application ("ANDA") for vasopressin. This approval follows the recent U.S. District Court for the District of Delaware                                Stock Information
decision holding that Eagle's proposed vasopressin product does not infringe any of the patents Par Pharmaceutical, Inc. et                            SEC Filings
al. asserted against the Company.                                                                                                                      Events & Presentations

                                                                                                                                                       Analyst Coverage
"We expect vasopressin to be a significant addition to our hospital and critical care portfolio, and we are delighted to now
have final FDA approval for our A-rated, therapeutic equivalent product. We also anticipate 180-day marketing exclusivity.                             Investor FAQs

This is an important product for us, and a much-needed generic alternative to Vasostrict® for providers and patients. We
are implementing our launch plans to bring vasopressin to market," stated Scott Tarriff, President and Chief Executive                                 ICcinrinis         I ,       x
Officer of Eagle.
                                                                                                                                  M      REQUEST A MEETING WITH MANAGEMENT


https://investor.eagleus.com/press-releases/news-details/2021/Eagle-Pharmaceuticals-Receives-FDA-Approval-for-Vasopressin/default.aspx                                                  1/3
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About Eagle Pharmaceuticals, Inc.                                                                                                     Email Alerts
                                                                                                                                                       RSS Feeds
Eagle is a fully integrated pharmaceutical company with research and development, clinical, manufacturing and commercial
expertise. Eagle is committed to developing innovative medicines that result in meaningful improvements in patients' lives.                            Investor Contact
Eagle's commercialized products include RYANODEX®, BENDEKA®, BELRAPZO®, and its oncology and CNS/metabolic                                             In-Site
critical care pipeline includes product candidates with the potential to address underserved therapeutic areas across                                  Communications, Inc.
multiple disease states. Additional information is available on Eagle's website at www.eagleus.com.                                                    Lisa M. Wilson,
                                                                                                                                                       212-452-2793

Forward-Looking Statements

This press release contains "forward-looking statements" within the meaning of the Private Securities Litigation Reform Act                             For all other media
                                                                                                                                                        inquiries, please
of 1995, as amended, and other securities law. Forward-looking statements are statements that are not historical facts.
                                                                                                                                                        contact us.
Words and phrases such as "anticipated," "forward," "will," "would," "may," "remain," "potential," "prepare," "expected,"
"believe," "plan," "near future," "belief," "guidance," and similar expressions are intended to identify forward-looking
statements. These statements include, but are not limited to, the Company's ability to obtain and maintain regulatory
approval of its products and product candidates, including the ANDA for vasopressin; whether or not Par Pharmaceutical,
Inc. will appeal the court's ruling or the outcome of any such appeal; the timing and progress of the Company's potential
launch of vasopressin; the ability of the Company to successfully commercialize vasopressin; the ability of vasopressin to
benefit providers and patients as an alternative to Vasostrict; the period of marketing exclusivity for vasopressin; and the
ability of the Company's product candidates, including vasopressin, to deliver value to stockholders. All of such statements
are subject to certain risks and uncertainties, many of which are difficult to predict and generally beyond the Company's
control, that could cause actual results to differ materially from those expressed in, or implied or projected by, the forward-
looking information and statements. Such risks and uncertainties include, but are not limited to: the impacts of the ongoing
COVID-19 pandemic, including interruptions or other adverse effects on clinical trials and delays in regulatory review or
further disruption or delay of any pending or future litigation; delay in or failure to obtain regulatory approval of the
Company's product candidates and successful compliance with FDA, European Medicines Agency and other governmental
regulations applicable to product approvals; the outcome of litigation involving any of its products or that may have an
impact on any of its products; the strength and enforceability of the Company's intellectual property rights or the rights of
third parties; the risks inherent in drug development and in conducting clinical trials; and those risks and uncertainties
identified in the "Risk Factors" section of the Company's Annual Report on Form 10-K for the year ended Dece•'                           "                                    X

2020 filed with the Securities and Exchange Commission (the "SEC") on March 5, 2021, as updated by the Co M                              REQUEST A MEETING WITH MANAGEMENT


https://investor.eagleus.com/press-releases/news-details/2021/Eagle-Pharmaceuticals-Receives-FDA-Approval-for-Vasopressin/default.aspx                                            2/3
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Quarterly Reports on Form 10-Q for the quarters ended March 31, 2021, June 30, 2021 and September 30, 2021 filed with
the SEC on May 10, 2021, August 9, 2021 and November 9, 2021, respectively, and its other subsequent filings with the
SEC. All forward-looking statements contained in this press release speak only as of the date on which they were made.
Except to the extent required by law, the Company undertakes no obligation to update such statements to reflect events
that occur or circumstances that exist after the date on which they were made.




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Lisa M. Wilson
In-Site Communications, Inc.
T: 212-452-2793
E: Iwilson@insitecony.conn

Source: Eagle Pharmaceuticals, Inc.


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                   EXHIBIT B
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                  EXHIBIT C
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S&P  Global
S&PGlobal
Ratings                                                                                               Credit Research


Research Update:

Endo International PLC Downgraded To 'CCC+' From
'B-'
1 8- 1 On Vasostrict Trial Outcome; Outlook Negative


             2021
September 2, 2021




Rating Action Overview
                                                                                                        PRIMARY CREDIT ANALYST
- The U.S. District Court for the District of Delaware recently ruled that Eagle Pharmaceutical         Matthew D Todd, CFA
  Inc.'s
  lnc.'s abbreviated new drug application does not infringe on Endo International PLC's patent on       New York
  its top drug Vasostrict.                                                                              + 1 (212) 438 2309
                                                                                                        matthew.todd
- We now expect Eagle to launch its generic of Vasostrict by early 2022, and we are lowering our        @spglobat.com
                                                                                                        @spglobal.com
  expectation for Vasostrict's revenue to about $500 million in 2022, which is $286 million lower
                                                                                                        SECONDARY CONTACTS
  than in 2020.
                                                                                                        David A Kaplan, CFA
- We expect adjusted gross debt to EBITDA of about 9x in 2022, a level we believe is likely             New York
  unsustainable given our expectation for significant liabilities from opioid-related litigation to     + 1 (212) 438 5649
  absorb most of the $1.5 billion of balance sheet cash.                                                david.a.kaplan
                                                                                                        @spglobat.com
                                                                                                        @spglobal.com
- We lowered our long-term issuer credit rating on Endo to 'CCC+' from 'B-' and removed the
                                                                                                        Arthur C Wong
  rating from CreditWatch, where we placed it with negative implications on Aug. 25, 2021
                                                                                     2021.. The         Toronto
  outlook is negative.                                                                                  + 1 (416) 507 2561
                                                                                                                      2561
                                                                                                        arthur.wong
- The negative outlook reflects the potential for an event of default within the next 12 months
                                                                                                        @spglobal.com
  stemming from opioid-related litigation or the possibility of a distressed exchange.



Rating Action Rationale
Our downgrade of Endo reflects our expectation for weakening credit metrics in 2022 and 2023
     Eagle"s launch of a generic Vasostrict, raising adjusted gross debt to EBITDA to above 9x
from Eagle's
from the high 7x area and leading us to believe the capital structure is likely unsustainable.
Although we think Endo can still generate positive cash flow at 9x leverage, we expect the
company's opioid-related litigation to result in significant incremental liabilities, absorbing the
majority of the company's $1
                          $1.5
                             .5 billion of cash on hand. We think the company's ability to
deleverage over time is constrained by its narrow product pipeline, and we expect the lower
operating cash flow and potential opioid-related liabilities to constrain the company's ability to
invest in the pipeline. In addition, we think its research and development (R&D) budget of about
5% of revenue is alone insufficient to replace the inevitable revenue declines of its existing




www.spglobal.com/ratings                                                                                           September 2, 2021
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                                                                28442
Research Update: Endo International PLC Downgraded To 'CCC+' From 'B-' On Vasostrict Trial Outcome; Outlook Negative




products (industry average R&D spending is about 15% of revenue).
                                                        revenue).

We expect Eagle's launch of a generic to be the first of several competitors, and we believe that
Endo's revenue from Vasostrict will continue to deteriorate after 2022. Eagle has consistently
stated that it plans to launch its product when approved by the U.S. Food and Drug Administration
(FDA) (FDA response deadline is Dec. 15, 2021), and we believe that the trial
                                                                           trial win increases that
probability, even if Endo appeals. We believe that the recent trial's ruling, which said Eagle did not
infringe on Endo's patents, provides a blueprint for additional generic entrants in 2023-2024 that
will further reduce Endo's revenue from Vasostrict. We do not think generic entrants need to
invalidate Endo's patents to safely enter the market.

We now expect about $500 million of revenue from Vasostrict in 2022, down from about $786
million in 2020 (the product had $421
                                  $421 million of revenue in the first six months of 2021). About
$100 million of the revenue decline in 2022 is our expectation for lower volume commensurate
with fewer COVID-19 cases (the product is used in intensive care units). From the launch of Eagle's
generic of Vasostrict, we assume a revenue decline of about $150 million from 10% lower volume
and 15% lower price, which we view as a modestly aggressive generic entrance. We expect Endo to
generate adjusted EBITDA of about $900 million in 2022, about $150 million lower than our
estimate for 2021, assuming the company has minimal ability to cut costs beyond current plans.

Our ratings reflect the expectation for significant litigation liabilities from the company's past
marketing of opioid products. There are ongoing opioid-related trials in California and New York,
and Endo did not settle ahead of the trials, suggesting significant distance in negotiations
between plaintiffs and defendants. Although the outcome of the trials is highly uncertain, the
courts could assess a very substantial monetary judgment if Endo is found liable, especially since
the lawsuit in California alone is seeking $50 billion from Endo, Johnson & Johnson, Teva, and
AbbVie. For context, the opioid public nuisance trial in Oklahoma found Johnson & Johnson liable
and assessed a $465 million judgment. Endo settled that case for a modest $8.75 million, but we
do not believe the settlement can be extrapolated to other cases.

Endo is also seeking to resolve the opioid-related claims via a global settlement, but there are
several uncertainties, including the ultimate amount, timeline, and number of plaintiffs who will
agree to it.

Endo marketed opioid products, including Opana ER, until 2016. Endo voluntarily removed Opana
ER from the market in 2017, following an FDA request because of concern the drug's risks
outweigh its benefit, including its potential for misuse and abuse. It continues to sell certain
opioid products, including Percocet, but does not promote these products.



Outlook
The negative outlook reflects the potential for an event of default within the next 12 months,
stemming from opioid-related litigation or the possibility of a distressed exchange.



Downside scenario
We could consider a lower rating on Endo if we concluded opioid-related liabilities would likely
exceed the $1.5 billion in cash balances.

Alternatively, we could consider a lower rating if we concluded that a distressed debt exchange




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Research Update: Endo International PLC Downgraded To 'CCC+' From 'B-' On Vasostrict Trial Outcome; Outlook Negative




were likely in the near term.
                        term .



Upside scenario
We could consider revising the outlook to stable if we believed Endo would be able to resolve all of
its opioid litigation for less than $1
                                    $1 billion, allowing for significant cash to invest in its product
pipeline. This would increase the potential for the company to remain viable over the longer term.  term .



Company Description
Endo is a specialty branded and generics pharmaceutical company headquartered in Dublin. The
company primarily markets patented, branded generic, and generic drugs in the U.S. (an
estimated 97% of 2020 revenue),
                          revenue) , with a small international presence, primarily in Canada. Endo
operates through four business segments: Branded Pharmaceuticals, Sterile Injectables,
                                                                                 lnjectables, Generic
Pharmaceuticals, and International Pharmaceuticals. Its largest products include Xiaftex
                                                                                       Xiaflex and
Vasostrict.
Vasostrict. In 2021, it launched QWO, the first FDA-approved injectable for moderate to severe
cellulite in the buttocks of adult women.
                                   women .

Endo acquired Par Pharmaceutical Holdings Inc. and Auxilium Pharmaceuticals Inc. in 2015 for a
total of about $10.7
               $10.7 billion.
                     billion .



Our Base-Case Scenario
- In 2021, revenue declines in the low- to mid-single-digit percentages, primarily from lower
  generics and sterile injectables revenue (including from Vasostrict and Adrenalin).
                                                                          Adrenalin).

- In 2022, revenue declines of about 10%, down from our previous expectation for flattish
  revenue due to expected competition for Vasostrict.

- We expect branded specialty and established products revenue growth in the high-single-digit
  percentages for 2021, with Xiaflex growth more than offsetting declines in established
  products. In this segment, we expect double-digit percent revenue growth in 2022 and 2023.

- Sterile injectables revenue to decline in the high-single-digit percentages in 2021
                                                                                 2021 from
                                                                                      from
  competition for Adrenalin and lower Vasostrict volume. We expect sterile injectable revenue to
  decline about 25% in 2022 from competition to Vasostrict and Adrenalin.
                                                                   Adrenalin .

- Generics revenue decline in the 25%-30% range in 2021
                                                   2021 and double-digit declines in 2022 and
  2023.

- International revenue declines in the high-single digits in 2021-2023.

- In 2021, adjusted EBITDA of about $1.1
                                     $1 .1 billion and margins of about 40% in 2021
                                                                               2021 as higher
  gross margins from favorable product mix are more than offset by higher sales, general and
  administrative (investment in the launch of QW0).
                                                QWO).

- In 2022, adjusted EBITDA of about $900 million and margins of about 38%, primarily driven by
  lower revenue from Vasostrict and a limited ability to cut costs beyond current plans.

- Adjusted EBITDA of $850 million in 2023 assuming incremental competition to Vasostrict.

- Litigation settlement payments from unrestricted cash of about $280 million in 2021
                                                                                 2021 and a
  much lower amount in 2022, primarily related to pelvic mesh.
                                                         mesh .

- Our base case forecast does not include an explicit estimate for opioid litigation liabilities, but



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Research Update: Endo International PLC Downgraded To 'CCC+' From 'B-' On Vasostrict Trial Outcome; Outlook Negative




   we do incorporate the substantial cash balance as a cushion to a potential liability, and we
   burden EBITDA with ongoing legal expenses.

Our base case projections are for adjusted gross debt to EBITDA of 7.5x-8.0x
                                                                     7 .5x-8.0x in 2021, 9.0x-9.5x
2022, and 9.5x-10x
           9.5x-1 Ox in 2023. Endo has a significant cash balance, but we expect the company to
use it primarily for litigation and business development, rather than debt repayment.

Outperformance of Xiaflex
                    Xia flex and QWO and better-than-expected cost management are sources of
upside to our projections.



Liquidity
We view Endo's liquidity as less than adequate, reflecting the company's limited ability to borrow
more bank debt given litigation uncertainty and a tight covenant cushion, which limits access to
the revolving credit facility. We also think it has a strained reputation in the credit markets, as
demonstrated by the current yield of its debt.

We believe Endo's sources of capital will substantially exceed uses because Endo has substantial
cash on hand and does not have any substantial debt maturities until 2026. We do not believe that
Endo could absorb a low-probability, high-impact events without refinancing because of expected
litigation liabilities that could pressure liquidity. We believe Endo is generally prudent in its
liquidity risk management, given its preemptive draw on its revolving credit facility ahead of any
negative outcomes from litigation.

Principal liquidity sources:

                        $1 .545 billion as of June 30, 2021
- Cash on hand of about $1.545                         2021

- Limited capacity on its revolving credit facility given covenants; and

- Cash funds from operations of about $420 million over the next 12 months.

Principal liquidity uses:

- Litigation settlement payments of about $280 million in the next 12 months;

- Debt maturities of about $223 million over the next twelve months.

- Annual term loan amortization of $20 million;

- Working-capital outflows of about $0 to $30 million annually; and

- Capital expenditures of about $100 million annually.




Covenants
We believe Endo will maintain less than a 15% covenant cushion on its 4.5x senior secured net
debt to EBITDA covenant, which springs when more than 30% of its $1
                                                                 $1 billion revolver is drawn.
This limits the company's access to the revolver.



Issue Ratings - Recovery Analysis




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Key analytical factors
- Endo's capital structure consists of a $1  $1 billion first-lien secured revolver (assumed 85% drawn
  at default with an interest rate of LIBOR
                                        LI BOR plus 500 basis points) maturing in three tranches in
  2022, 2024, and 2026, a $2 billion first-lien secured term loan B due in 2028, about $3.31$3.31 billion
  of first-lien secured notes maturing 2027 and 2029, $940 million of second-lien secured notes,
  and about $1.52
               $1 .52 billion of unsecured notes with the most significant maturity in 2028.

- We expect Endo's EBITDA would need to decline approximately 25% from our 20212021 estimate for
  the company to default. This would likely stem from competition to Vasostrict,
  slower-than-expected growth of Xiaflex and Qwo, revenue declines in other products, and high
  legal expenses.
- Our recovery analysis does not explicitly contemplate a specific amount of legal liabilities
             End o's sales of opioids because the amount of future liabilities is highly uncertain.
  related to Endo's
  Significant litigation liabilities could lead to a scenario with greater unsecured liabilities,
  forcing the company to default with a higher enterprise value, potentially resulting in higher
  recovery rates than described below.

- We believe Endo would reorganize in the event of a default because of the strength of its
  intellectual property--including its patented drugs and generic drug approvals--as well as its
  organizational development, manufacturing, and marketing expertise.
- We use an enterprise-value methodology to evaluate Endo's recovery prospects. We value the
  company on a going-concern basis using a 6x multiple of our projected EBITDA at emergence
  from default, consistent with the multiples we use for similar generic and specialty
  pharmaceutical companies.



Simulated default assumptions
- Simulated year of default: 2022

- EBITDA at emergence: $828 million

- EBITDA multiple: 6x

- Gross enterprise value at emergence: $4.968 billion



Simplified waterfall
- Net enterprise value (after 5% administrative costs):
                                                costs) : $4.72 billion

- Valuation split (obligors/nonobligors):
                  (obligors/nonobligors) : 96%/4%

- Collateral value available to secured creditors:
                                        creditors : $4.654 billion

- Secured first-lien debt: $6.681
                           $6.681 billion

- --Recovery expectations:
             expectations : 70%-90% (rounded estimate: 70%)

- Total value available to second-lien debt: $0 billion

- Second-lien debt: $985 million

- --Recovery expectations:
             expectations : 0%-10% (rounded estimate: 0%)




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                      International PLC Downgraded To 'CCC+' From 'B-' On Vasostrict Trial Outcome; Outlook Negative
Research Update: Endo International




- Total value available to unsecured debt: $66 million

- Unsecured debt: $1.571
                  $1 .571 billion

- Pari passu secured deficiency claims:
                                claims : $3.013 billion

- --Recovery expectations:
             expectations : 0%-10% (rounded estimate:
                                            estimate : 0%)

Note: All debt amounts include six months of prepetition interest.



Related Criteria
- General Criteria: Group Rating Methodology, July 1, 2019

- Criteria II Corporates II General: Corporate Methodology: Ratios And Adjustments, April
                                                                                    April 1, 2019

- General Criteria: Methodology For Linking Long-Term And Short-Term Ratings, April 7,
                                                                                    7, 2017

- Criteria II Corporates II General: Recovery Rating Criteria For Speculative-Grade Corporate
  Issuers, Dec. 7, 2016

- Criteria II Corporates II General: Methodology And Assumptions:
                                                     Assumptions : Liquidity Descriptors For Global
  Corporate Issuers, Dec. 16, 2014

- Criteria II Corporates II Industrials: Key Credit Factors For The Pharmaceutical Industry, April
                                                                                             April 8,
  2014

- General Criteria: Methodology: Industry Risk, Nov. 19, 2013

- Criteria II Corporates II General: Corporate Methodology, Nov. 19, 2013

- General Criteria: Country Risk Assessment Methodology And Assumptions, Nov. 19, 2013

- General Criteria: Methodology: Management And Governance Credit Factors For Corporate
  Entities, Nov. 13, 2012

- General Criteria: Criteria For Assigning 'CCC+', 'CCC', 'CCC-', And 'CC' Ratings, Oct. 1, 2012

- General Criteria: Principles Of Credit Ratings, Feb. 16, 2011
                                                           2011




Ratings List

Downgraded; Off CreditWatch; Outlook Action

                                              To               From

Endo International PLC

   Issuer Credit Rating                       CCC+/Negative/-- B-/Watch
                                                               B-/ Watch Neg/--

Endo Designated Activity Co.
                         Co.

Endo LLC

Endo Luxembourg Finance Co.
                        Co. S.a.r.l

Par Pharmaceutical Inc.

Endo Finco Inc.

   Senior Secured                             B-               B/Watch Neg

      Recovery Rating                         2(70%)            2(70%)




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                      International PLC Downgraded To 'CCC+' From 'B-' On Vasostrict Trial Outcome; Outlook Negative
Research Update: Endo International




Downgraded; Off CreditWatch; Outlook Action

                                                  To                    From

Endo Designated Activity Co.
                         Co.

Endo Finance LLC

Endo Finco Inc.

   2nd-Lien Senior Secured                         CCC-                 CCC/Watch
                                                                        CCC/Wat ch Neg

      Recovery Rating                              6(0%)                6(0%)

Endo International PLC

Endo Designated Activity Co.
                         Co.

Endo Finance LLC

Endo Finco Inc.

   Senior Unsecured                                CCC-                 CCC/Watch
                                                                        CCC/Wat ch Neg

      Recovery Rating                              6(0%)                6(0%)


    Certain terms used in this report, particularly certain adjectives
                                                             adj ectives used to express our view on rating relevant factors,
    have specific meanings ascribed to them
                                          them in our criteria, and should therefore be read in conjunction with such
    criteria. Please see Ratings Criteria at www.standardandpoors.com for further information. Complete ratings
    information is available to subscribers of RatingsDirect at www.capitaliq.com.All
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    action can be found on S&P Global Ratings' public website at www.standardandpoors.com. Use the Ratings search
    box located in the left column.




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                   EXHIBIT D
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  MD'S
  INVESTORS SERVICE
  Rating Action: Moody's downgrades Endo's CFR to Caa1; outlook negative
  Global Credit Research - 25 Aug 2021
  New York, August 25, 2021 -- Moody's Investors Service ("Moody's") downgraded the ratings of Endo
  Luxembourg Finance I Company S.à.r.l., and other subsidiaries of Endo International plc (together,
  "Endo"). The Corporate Family Rating was downgraded to Caa1 from B3 and the Probability of Default
  Rating was downgraded to Caa1-PD from B3-PD. Moody's also downgraded the ratings on the
  company's senior secured debt to B3 from B2, and the unsecured ratings to Caa3 from Caa2. Moody's
  affirmed the secured 2nd Lien Regular Bond/Debenture, at Caa2. There is no change to the SGL-3
  Speculative Grade Liquidity Rating. At the same time, Moody's revised the rating outlook to negative
  from stable.
  The rating downgrades reflect Moody's expectation that Endo's potential cash outflows related to opioid
  litigation will hinder its ability to improve operational performance or meaningfully deleverage. The
  downgrade also reflects ongoing erosion in Endo's US generics business, as well as Moody's view that
  Endo has experienced a material reduction in its capital market access and enterprise value. This adds
  pressure to the company's ongoing business challenges.
  The negative outlook reflects Moody's view of Endo's rising exposure to opioid-related litigation and
  settlement involving cash outflows. The negative outlook also reflects Moody's view that Endo's earnings
  will decline in 2022, but that it's large cash balance will provide adequate liquidity for operations.
  Social considerations were a material factor in this rating action. The company faces significant legal
  exposures related to its sales of branded and generic opioid drugs. Moody's believes the risk of a
  settlement to resolve all outstanding opioid litigation by the end of 2021 is high, as other defendants have
  neared final global resolution of their exposures. A settlement involving cash outflows over multiple years
  would be credit negative for Endo.
  Downgrades:
  ... Issuer: Endo Luxembourg Finance I Company S.a.r.l.
  .... Corporate Family Rating, to Caa1 from B3
  .... Probability of Default Rating, to Caa1-PD from B3-PD
  .... Backed Senior Secured Bank Credit Facility, to B3 (LGD3) from B2 (LGD3)
  .... Senior Secured Bank Credit Facility, to B3 (LGD3) from B2 (LGD3)
  .... Backed Senior Secured 1st Lien Regular Bond/Debenture to B3 (LGD3) from B2 (LGD3)
  Issuer: Par Pharmaceutical Inc.
  .... Backed Senior Secured Regular Bond/Debenture, to B3 (LGD3) from B2 (LGD3)
  ... Issuer: Endo Finance LLC
  .... Senior Secured Regular Bond/Debenture, to B3 (LGD3) from B2 (LGD3)
  .... Senior Unsecured Regular Bond/Debenture, to Caa3 (LGD6) from Caa2 (LGD6)
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  . Backed Senior Unsecured Bond/Debenture, to Caa3 (LGD6) from Caa2 (LGD6)
  ... Issuer: Endo Finance Co.
  .... Senior Unsecured Regular Bond/Debenture, to Caa3 (LGD6) from Caa2 (LGD6)
  Affirmations:
  ... Issuer: Endo Finance LLC
  . Backed Secured 2nd Lien Regular Bond/Debenture, at Caa2 (LGD5)
  Outlook Actions:
  ... Issuer: Endo Luxembourg Finance I Company S.a.r.l.
  .... Outlook, Changed to Negative from Stable
  ..Issuer: Par Pharmaceutical Inc.
  .... Outlook, Changed to Negative from Stable
  ... Issuer: Endo Finance LLC
  .... Outlook, Changed to Negative from Stable
  Issuer: Endo Finance Co.
  .... Outlook, Changed to Negative from Stable
  RATINGS RATIONALE
  Endo's Caa1 Corporate Family Rating reflects its weak credit profile as earnings will continue to decline
  in 2021 and 2022 due to ongoing challenges in its US generics business. Moody's expects the branded
  segment to grow while it is unlikely that the generics business will return to growth for the foreseeable
  future due to continued pricing pressure. The rating is also constrained by product concentration risk as
  Vasostrict, Endo's largest product, contributes more than 20% of Endo's earnings. Uncertainty around
  patent litigation on Vasostrict exposes it to risk of earnings declines that would increase financial
  leverage if generic challengers are successful.
  Endo's rating is supported by strong scale, decent growth potential of a newly approved product, Qwo,
  for cellulite, and its balanced business mix between branded and generic drugs. However, revenues
  from new products, including Qwo, would not be sufficient to offset Vasostrict declines, if it were to face
  generic competition. The ratings are also supported by Endo's high cash balance and good cash flow
  before litigation payments.
  The SGL-3 Speculative Grade Liquidity Rating is supported by Endo's unrestricted cash, which was
  approximately $1.5 billion at June 30, 2021. Moody's expects that Endo will generate good cash flow
  prior to litigation payments. Endo has nearly $360 million of litigation payments remaining in 2021 --
  related to vaginal mesh - roughly half of which is already reserved in restricted cash. Endo has $300
  million of revolver borrowings. A portion of the $1 billion revolver is subject to a 4.5x secured net debt to
  EBITDA covenant that springs with any more borrowings than it currently has. Endo's compliance is
  diminishing given shrinking EBITDA through 2021 and beyond. $22 million of Endo's revolver
  commitments will continue to expire in April 2022, with $75 million expiring in 2024, and the remainder
  extended into 2026. Endo also has $180 million in notes maturing in January 2022 that Endo has the
  ability to fund with cash.
  Social considerations are material to Endo's ratings. Endo faces significant legal exposures related to its
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  sales of branded and generic opioid drugs. Endo and its subsidiaries are named defendants in various
  lawsuits including those from US cities, states, and counties, alleging deceptive promotion of branded
  opioid products and downplaying the risks of opioid use. Endo's exposure primarily relates to its
  previously promoted branded opioid products, Opana ER and Percocet/Endocet. Endo no longer
  promotes any opioid products. These investigations could result in cash outflows, although the timing
  and amounts are highly uncertain. Endo's flexibility to absorb this risk is weak, given its high financial
  leverage and other headwinds. Moody's believes the risk of a settlement to resolve all outstanding opioid
  litigation by the end of 2021 is high, as other defendants have neared final global resolution of their
  exposures. A settlement involving cash outflows over multiple years would be credit negative for Endo.
  This is because litigation payouts consume financial resources that could otherwise be used for debt
  reduction or acquisitions, while also adding a form of financial leverage. Endo's capacity to absorb a
  settlement would depend on potential cash outflows relative to its annual free cash flow as well as
  developments in the rest of its business, such as ongoing patent litigation on Vasostrict.
  FACTORS THAT COULD LEAD TO AN UPGRADE OR DOWNGRADE OF THE RATINGS
  Materially negative developments related to Endo's opioid-related litigation could lead to a downgrade. A
  negative outcome stemming from ongoing patent litigation on its largest product, Vasostrict, could also
  lead to a downgrade. A reduction in cash for acquisitions or shareholder initiatives ahead of clarity on
  opioid litigation could also lead to a downgrade.
  The rating could be upgraded if there is reduced credit risk related to the impact of opioid-related legal
  matters and Vasostrict litigation. Sustainable revenue and earnings growth, reduced concentration in
  Vasostrict, would also be needed to support an upgrade. Quantitively debt/EBITDA will need to
  approach 6.0x.
  Headquartered in Luxembourg, Endo Luxembourg Finance I Company S.a.r.l. is a subsidiary of Endo
  International plc, which is headquartered in Dublin, Ireland. Endo is a specialty healthcare company
  offering branded and generic pharmaceuticals. Endo's reported revenue for the twelve months ended
  June 30, 2021 was approximately $2.8 billion.
  The principal methodology used in these ratings was Pharmaceutical Industry published in June 2017
  and available at https://www.moodys.com/researchdocumentcontentpage.aspx?docid=PBC_1062755 .
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